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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Vioxx

PRODUCTS LIABILITY
LITIGATION

This document relates to:

Bill Black, et al. v. Merck & Co., Inc.,
Docket Number: 2:05-cv-4452; and only
regarding Bethel Anzalone, Thomas N.
Arnold,-Glenda Bibbins, Dottie
Breedlove, Albert Doucet, Jr., Sharon
Everett, Frank Harvey, Breelin Johnson,
Floyd Jones, Florence Minter, Clenis
Monette, Brenetha Robinson, Emile
Russell, Rodney Teal, and David White
Sr.

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MDL Docket No. 1657
SECTION L
JUDGE FALLON

MAGISTRATE JUDGE
KNOWLES

ORDER OF DISMISSAL WITHOUT PREJUDICE

Considering the foregoing Stipulation of Dismissal Without Prejudice,

IT IS ORDERED, that all of claims of the plaintiffs Bethel Anzalone, Thomas N. Armold,

Glenda Bibbins, Dottie Breedlove, Albert Doucet, Jr., Sharon Everett, Frank Harvey, Breelin

Johnson, Floyd Jones, Florence Minter, Clenis Monette, Brenetha Robinson, Emile Russell,

Rodney Teal, and David White Sr. against defendant Merck & Co., Inc. in the above-styled

lawsuit are hereby dismissed without prejudice, each party to bear its own costs, and subject the

terms and conditions of the Stipulation.

New Orleans, Louisiana, this day of

, 2008.

DISTRICT JUDGE
